           Case 1:19-cv-07346-AJN-KNF Document 30 Filed 12/04/19 Page 1 of 2




JAMES E. JOHNSON                          THe Grw oF NEW        Yonr                                 GENEVIEVE I{ELSON
Corporation Counsel                                                                                            Senior Counsel
                                      LAW DEPARTMENT                                                   phone: (212) 356-2645
                                                                                                          fax: (212) 356-3509
                                              1OO CHURCH STREET
                                                                                                        gnelson@law.nyc.gov
                                             NEW YORK, N.Y. lOOO7


                                                                      December 4,2019

BY ECF
Honorable Alison J. Nathan
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                      Re:   Heleen Mees v. City of New York et al.
                            le Civ.7346 (AJN) (KNF)

Your Honor:

        I am a Senior Counsel in the Office of James E. Johnson, Corporation Counsel of the City
of New York ("City'') and attorney for Defendant City of New York.r Defendants submit this
joint letter in response to Plaintiffs letter to the Court dated December 4, 2019 stating that
Plaintiff anticipates filing a motion before Your Honor to amend her Notice of Claim.

        First, the consensus in this district is that the federal court does not have jurisdiction to
permit Plaintiff to amend the Notice of Claim or grant permission to file a late Notice of Claim.
Dayton v. City of Middletown, 786 F. Supp. 2d 809, 824-25 (S.D.N.Y. 20ll); see also Kravtsov
v. Town of Greenburgh,2012 U.S. Dist. LEXIS 94819, *76 (S.D.N.Y. July 9,2012) ("[T]his
Court does not have the jurisdiction to consider Plaintiff[']s request for leave to amend or file a
late notice fof claim]"); Coleman v. City of Niagara Falls, 2010 U.S. Dist. LEXIS 73089, *22
fn.8 (W.D.N.Y. July 20,2010) ("[M]ost district courts in the Second Circuit have routinely
found that they lack jurisdiction to even consider such an application fto grant leave to amend a
Notice of Claim]"). Instead, Plaintiff would have to 'seek permission from State Court.

       Second, although the complaint uses the phrase 'isupplemental jurisdiction" (Dkt. Entry
No. 1, Complaint !f 4), the complaint is based only on a 42 U.S.C. $1983 federal due process

I Pl"ur" take notice that this case is assigned to Assistant Corporation Counsel William Gosling, who is presently
awaiting admission to the New York State bar and is assigned to this matter under my supervision. Mr. Gosling may
be reached directly at 212-3 5 6 -23 84 or wgosling@law.nyc. gov.
       Case 1:19-cv-07346-AJN-KNF Document 30 Filed 12/04/19 Page 2 of 2




claim. Because the Complaint does not allege any state law claims or reference a Notice of
Claim, there are no state law claims before the Court and the derivative issue of whether to
amend any Notice of Claim is similarly not before the Court.

       Defendants respectfully submit that a motion by Plaintiff to amend her Notice of Claim
should, in accordance with General Municipal Law $50-e(7), be brought in State Court.
Notwithstanding, if the Court would prefer formal motion practice on this issue, Defendants will
be prepared to oppose any anticipated motion by Plaintiff.

       Defendants thank the Court for its consideration of this matter.



                                                                                            submitted,



                                                                                       eve Nelson
                                                                                    Counsel
                                                                             Special Federal Litigation Division




To     Ms. Heleen Mees (Bymail)
       Pro Se Plaintiff
       30 Main Street, Apartment 11H
       Brooklyn, New York 11201

       Elizabeth Norris Krasnow (By ECF)
                  r C o - D efen d ant s M anh a t t an D i s tr i c t At t o rn ey,
       At t o r n ey fo
       Cyrus R. Vance, Nitin Savur, Jeanine Launay,
       and Samantha Schott
       One Hogan Place
       New York, New York 10007




                                                           -2-
